                       Case 1:21-cr-00455-TFH Document 1 Filed 04/14/21 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                     for the
                                                            District of &ROXPELD

                  United States of America                              )
                             v.                                         )
                                                                        )      Case No.
                  Reed Knox Christensen
                                                                        )
                    DOB: XXXXXX                                         )
                                                                        )
                                                                        )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     January 6, 2021                 in the county of                                         in the
                         LQWKH'LVWULFWRI       &ROXPELD , the defendant(s) violated:

             Code Section                                                         Offense Description
        18 U.S.C. § 1752(a)(1) - Knowingly Entering or Remaining in any Restricted Building or Grounds Without Lawful Authority,
        18 U.S.C. § 1752(a)(2) - Knowingly Entering or Remaining in any Restricted Building or Grounds Without Lawful Authority,
        18 U.S.C. § 1752(a)(4) - Knowingly Engage in any act of Physical Violence Against any Person or Property in a Restricted
        Building ,
        40 U.S.C. § 5104(e)(2)(F) - Willfully and Knowingly Engage in an act of Physical Violence in the Grounds of the Capitol Building ,
        18 U.S.C. § 231(a)(3) - Commit or Attempt any act to Obstruct Impede or Interfere with Law Enforcement in the Lawful
        Performance of his Official Duties,
        18 U.S.C. § 111(a)(1) - Forcibly Assault, Resist, Opposes Impede, Intimidate, or Interfere .

          This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u   Continued on the attached sheet.


                                                                                                    Complainant’s signature

                                                                                          Bryon J. Speakes, Special Agent
                                                                                                     Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH
                                                                                                              2021.04.14
                                                                                                              11:12:32 -04'00'
Date:             04/14/2021
                                                                                                        Judge’s signature

City and state:                         :DVKLQJWRQ'&                          Robin M. Meriweather, U.S. Magistrate Judge
                                                                                                     Printed name and title
